                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        CRIMINAL ACTION NO. 3:06CR151-9


UNITED STATES OF AMERICA,              )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )                            ORDER
                                       )
JESSE DAVID REID,                      )
                                       )
            Defendant.                 )
______________________________________ )

        THIS MATTER IS BEFORE THE COURT on “Defendant’s Motion to Adopt Motions

of Co-Defendants and Motion to Extend Time for Filing Pretrial Motions” (Document No. 74), filed

September 12, 2006. The Government has not filed a response. This matter has been referred to

the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and is now ripe for disposition.

        The Court in its discretion will grant both motions.

        IT IS, THEREFORE, ORDERED that Defendant’s “Motion to Adopt Motions of Co-

Defendants” is hereby GRANTED.

        IT IS FURTHER ORDERED that Defendant’s “Motion to Extend Time for Filing

Pretrial Motions” is hereby GRANTED. Defendant shall have until October 30, 2006 to file

pretrial motions. This is without prejudice to Defendant’s right to bring a successive extension

motion if the government has not timely provided discovery.




    C       a      s      e       3      :     0      6        -   c      r     -      0      0     1   5
                                 Signed: October 12, 2006




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